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AO 93 (Rev. 11/3) Search and Seizure Warrant i 7 i j

   

 

 

UNITED STATES DISTRICT COURT

for the

Northern District of Texas

In the Matter of the Search of )
(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No. 3: 19-MJ-
items belonging to Michael Tremaine SCHEXNAYDER, DCSO )
Bookin # 19036601, located at Frank Crowley Criminal Courts/Dallas
County Sheriff's Office Jail,117 W. Commerce, Dallas, TX 3 = 1 9 M J 1 Uv 2 3 B H
SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer
An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Northern District of Texas
(identify the person or describe the property to be searched and give its location):
See Attachment A.

] find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (idestify the person or describe the property to be seized):

See Attachment B.
YOU ARE COMMANDED to execute this warrant on or before fl [ (G4 Ls _ (not to exceed 14 days)
C1 in the daytime 6:00 a.m. to 10:00 p.m. @at any time in the day or night because food cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant. must prepare an inventory

as required by law and promptly return this warrant and inventory to Irma Carrillo Ramirez
(United States Magistrate Judge}

( Pursuant to 18 U.S.C. § 3103a(b), | find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

C1 for days (uot to exceed 30) 1 until, the facts justifying, the later specific date of
Date and time issued: i ff. (2 S38 ~. is et Ree
# 47 — ie ; aa Judge's ignature “Se
City and state: Dallas, Texas IRMA CARRILLO RAMIREZ, U.S. Magistrate Judge

Printed name and title
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ATTACHMENT A
PROPERTY OR PREMISES KNOWN AS:

Frank Crowley Criminal Courts/Dallas County Sheriffs Office Jail, located at 111 W.
Commerce, city of Dallas, Dallas County, 75208, in the Northern District of Texas — Dallas
Division. The building is described as a multi-story multi-purpose brown brick and glass
building utilized to house incarcerated persons along with personal property that was in the
possession of that person at the time of their arrest. Building is also utilized as a Criminal
Courthouse for the County of Dallas. The roadway of Commerce runs west to east, with a cross
street of S. Riverfront Blvd. The entire facility is located at the northwest corner of that
intersection. Location to be searched is the area where personal property, namely clothing is
stored during an inmate’s incarceration, specifically, items belonging to Michael Tremaine
SCHEXNAYDER, DCSO Bookin # 19036601.
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ATTACHMENT B

PROPERTY TO BE SEIZED

1. Brightly colored blue athletic shoes, belonging to Michael Tremaine
SCHEXNAYDER, DCSO Bookin # 19036601;

All of the above and any other fruits, instrumentality, or evidence of violations of Title 21
United States Code, § Section 1951 — Interference with Commerce by
Threats/Violence/Robbery as described in the affidavit submitted in support of the
application for search warrant.
AO 93 (Rev. 11/13\S@Gram:LOue wid 2aeBH Document 3 Filed 11/15/19 Page4of4 PagelD 13

9-19MJIUE3RH Return

 

 

 

 

 

 

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
3:19-M Whelasig oF20 Betty Davis Prop Raom sup.
f F t

 

Inventory made in the presence of; .
4 DCSO Vropet Supervisot
Inventory of the property taken and name of any person(s) seized:

\ par adwiedic shoes-blur\a color

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: uy} 1s” Ja04 Site <b

Executing officer's signature

Seo C, Satcluc, ATF 4464

Printed name and title

 

 

 
